               Case 17-31646 Document 662-1 Filed in TXSB on 12/01/17 Page 1 of 10




From:                              David F. Waguespack
Sent:                              Thursday, November 30, 2017 3:03 PM
To:                                Slusher, Vince; Avraham, David; Brandon T. Darden; Perry, Kristen L.
Cc:                                Brian Kilmer; Elder, David; llowrey@sbsblaw.com; Rachel A. Lisotta
                                   (rlisotta@mcalpinelaw.com); jwolfshohl@porterhedges.com; Lutkus, Stacy A.; Morgan,
                                   Brian P.
Subject:                           RE: Monto - Non Disclosure Agreement


Vince, per my earlier email the discovery requests do relate to the request to approve bidding procedures. The Debtors’
representations in the motion that relate to its current path are certainly at issue and we need those documents and the
interrogatory responses as soon as possible to have any chance of properly preparing for Monday’s hearing.

I am really surprised by the second paragraph of your email. As you know the prior discovery requests (which related to
the disclosure statement, plan and the adversary) were not in any way limited by the statements you set forth in your
email. I am not sure how you could have interpreted the requests so as to impose such limitations. Further, I
understood your prior email to state that you were not withholding any documents. I only questioned you about Mr.
Orgeron and Mr. Boudreaux because we found no documents or emails from either of them (and only a few where
Boudreaux was copied). The emails and other documents that were sought in connection with the plan are still very
relevant with respect to the Debtors’ current motion. These should have been produced long ago—particularly in light
of the Court’s admonition at the estimation hearing. I again request that you immediately produce these documents.
Although a number of the document requests would cover Orgeron and Boudreaux emails, I call your attention to the
two below. Thanks David



      1.        All Communications and Documents relating to any due diligence completed by MOI in
determining that maximizing the value of MOI’s estate would be best accomplished through a stand-alone
reorganization plan of MOI.
      4.       All Communications and Documents exchanged between MOI and any other Person, other than
SEACOR, regarding a possible sale or Alternative Transaction.



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                                                                                             EXHIBIT A

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From: Slusher, Vince [mailto:Vince.Slusher@dbr.com]
Sent: Thursday, November 30, 2017 2:44 PM
To: David F. Waguespack <waguespack@carverdarden.com>; Avraham, David <David.Avraham@dlapiper.com>;
Brandon T. Darden <bdarden@carverdarden.com>; Perry, Kristen L. <Kristen.Perry@dbr.com>
Cc: Brian Kilmer <bkilmer@kcw-lawfirm.com>; Elder, David <delder@gardere.com>; llowrey@sbsblaw.com; Rachel A.
Lisotta (rlisotta@mcalpinelaw.com) <rlisotta@mcalpinelaw.com>; jwolfshohl@porterhedges.com; Lutkus, Stacy A.
<Stacy.Lutkus@dbr.com>; Morgan, Brian P. <Brian.Morgan@dbr.com>
Subject: RE: Monto - Non Disclosure Agreement

David,

The motion is going forward with respect to bidding procedures. A proposed order on bidding procedures only has been
attached to the motion, and we will be seeking entry of that order on Monday. Your requests and interrogatories
appear to concern the sale of assets, and not the bidding procedures. We will work to respond to your requests in an
expedited fashion, but we will not have fulsome responses to you by tomorrow. That said, we will try to make a rolling
production so that you can have a subset of responses before Monday’s hearing. As such, if you believe that certain of
your requests are specific to the bidding procedures, and not to the sale, please let us know ASAP, so that we may
prioritize those requests.

As for your request regarding the email searches: as you know, we are not moving forward with the Plan and Disclosure
Statement (see Docket No. 641). Your discovery requests in connection with the Plan and Disclosure Statement appear,
therefore, to be moot. However, to the extent any such requests are duplicative of the newly propounded requests, we
will produce responsive documents as soon as possible. With respect to the prior searches, following the depositions of
Mr. Boudreaux and Mr. Orgeron, searches were conducted in response to the specific requests for correspondence
which could illustrate the terms of the oral charter agreement between MOI and MOC which requests were made during
the depositions. As a result of those searches, an illustrative production set was produced (uploaded into the non-
confidential folder of the database) as an example of internal communications between MOI and MOC. I represented to
Mr. Kilmer that I would produce additional correspondence if he requested I do so after his review of the illustrative set.
The Court ruled in favor or your client and Mr. Kilmer’s on November 8 regarding estimation. Presumably as a result of
the ruling, no such further request was made by Mr. Kilmer.

Thanks, Vince.


Vince Slusher
Drinker Biddle & Reath LLP
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Dallas, TX 75201-7367
(469) 357-2571 office
Vince.Slusher@dbr.com
www.drinkerbiddle.com



From: David F. Waguespack [mailto:waguespack@carverdarden.com]
Sent: Thursday, November 30, 2017 12:10 PM
To: Avraham, David <David.Avraham@dlapiper.com>; Brandon T. Darden <bdarden@carverdarden.com>; Slusher, Vince
<Vince.Slusher@dbr.com>; Perry, Kristen L. <Kristen.Perry@dbr.com>
Cc: Brian Kilmer <bkilmer@kcw-lawfirm.com>; Elder, David <delder@gardere.com>; llowrey@sbsblaw.com; Rachel A.
                                                            2
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Lisotta (rlisotta@mcalpinelaw.com) <rlisotta@mcalpinelaw.com>; jwolfshohl@porterhedges.com; Lutkus, Stacy A.
<Stacy.Lutkus@dbr.com>; Morgan, Brian P. <Brian.Morgan@dbr.com>
Subject: RE: Monto - Non Disclosure Agreement

David I only see the note in the beginning of the motion that the Debtors request that the Motion be set for hearing on
December 4, 2017. The document requests and interrogatories concern the motion that was filed on November 24,
2017, docket no. 637. If any part of that motion is going forward on Monday, December 4, 2017 the documents should
be produced 72 hours before the hearing on December 4, 2017. Thanks David

David F. Waguespack
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From: Avraham, David [mailto:David.Avraham@dlapiper.com]
Sent: Thursday, November 30, 2017 11:30 AM
To: David F. Waguespack <waguespack@carverdarden.com>; Brandon T. Darden <bdarden@carverdarden.com>;
Slusher, Vince <Vince.Slusher@dbr.com>; Perry, Kristen L. <Kristen.Perry@dbr.com>
Cc: Brian Kilmer <bkilmer@kcw-lawfirm.com>; Elder, David <delder@gardere.com>; llowrey@sbsblaw.com; Rachel A.
Lisotta (rlisotta@mcalpinelaw.com) <rlisotta@mcalpinelaw.com>; jwolfshohl@porterhedges.com; Lutkus, Stacy A.
<Stacy.Lutkus@dbr.com>; Morgan, Brian P. <Brian.Morgan@dbr.com>
Subject: RE: Monto - Non Disclosure Agreement

David,

Just to get back to you quickly on the first point – there is a bidding procedures hearing scheduled for Monday. The sale
hearing is currently requested to be scheduled for December 19th. Again, I’ll assume your discovery requests are in
connection with the sale hearing, not bid procedures.

We’ll get back to you today on your second question (I want to confer with co-counsel, since they were present at the
depositions).

Thanks

-David


                                                             3
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From: David F. Waguespack [mailto:waguespack@carverdarden.com]
Sent: Thursday, November 30, 2017 10:59 AM
To: Avraham, David; Brandon T. Darden; Slusher, Vince; Perry, Kristen L.
Cc: Brian Kilmer; Elder, David; llowrey@sbsblaw.com; Rachel A. Lisotta (rlisotta@mcalpinelaw.com);
jwolfshohl@porterhedges.com; Lutkus, Stacy A.; Morgan, Brian P.
Subject: RE: Monto - Non Disclosure Agreement

David thank you for the response. I am not aware that the sales hearing has been set for Monday at 3 pm. I saw that
request in your motion but I have never seen an order or notice of hearing. So if the Judge has set the hearing for that
date and time then yes we would need the documents tomorrow at 3 pm.

We continue to ask for a response as to why there are no Orgeron or Boudreaux emails or documents in the prior
production. My recollection is that Mr. Kilmer asked both at their depositions if they had been asked to search for such
emails and both said no. Can you advise as to whether a search has been made and if so why no documents have been
produced (and if not why has a search not been made)? Thanks

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From: Avraham, David [mailto:David.Avraham@dlapiper.com]
Sent: Thursday, November 30, 2017 10:53 AM
To: Brandon T. Darden <bdarden@carverdarden.com>; David F. Waguespack <waguespack@carverdarden.com>;
Slusher, Vince <Vince.Slusher@dbr.com>; Perry, Kristen L. <Kristen.Perry@dbr.com>
Cc: Brian Kilmer <bkilmer@kcw-lawfirm.com>; Elder, David <delder@gardere.com>; llowrey@sbsblaw.com; Rachel A.
Lisotta (rlisotta@mcalpinelaw.com) <rlisotta@mcalpinelaw.com>; jwolfshohl@porterhedges.com; Lutkus, Stacy A.
<Stacy.Lutkus@dbr.com>; Morgan, Brian P. <Brian.Morgan@dbr.com>
Subject: RE: Monto - Non Disclosure Agreement

Brandon,

Hope you had a nice holiday weekend. We just wanted to confirm that the requested discovery deadline is the earlier
of (a) 72 hours prior to the Sale Hearing, or (b) 10 days from Nov. 29 (which falls out on a Saturday, so we assume that to
be Monday, December 11). There is some ambiguity that allows your requests to be read as seeking documents as of
72 hours prior to the Bidding Procedures Hearing, i.e. tomorrow. I assume this was not the intent, but we just want to


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be sure. Obviously, we would object to requests that seek a 48-hour turnaround, but, again, we assume that is not the
intent.

Many thanks, and please just let us know when you get a chance.

-David

From: Brandon T. Darden [mailto:bdarden@carverdarden.com]
Sent: Wednesday, November 29, 2017 7:05 PM
To: David F. Waguespack; Slusher, Vince; Perry, Kristen L.
Cc: Avraham, David; Brian Kilmer; Elder, David; llowrey@sbsblaw.com; Rachel A. Lisotta (rlisotta@mcalpinelaw.com);
jwolfshohl@porterhedges.com
Subject: RE: Monto - Non Disclosure Agreement

Vince,

Enclosed please find Alliance’s Second Requests for Production of Documents and Second Set of Interrogatories to the
Debtors.

I am also following up on David’s email below from last Wednesday. Please respond at your earliest convenience.

Thanks,

BRANDON T. DARDEN
Carver Darden Koretzky Tessier Finn Blossman & Areaux LLC
1100 Poydras St., Suite 3100 | New Orleans, Louisiana 70163
T: (504) 585.3898 | F: (504) 585.3801
bdarden@carverdarden.com | carverdarden.com




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above.


From: David F. Waguespack
Sent: Wednesday, November 22, 2017 2:04 PM
To: Slusher, Vince <Vince.Slusher@dbr.com>; Perry, Kristen L. <Kristen.Perry@dbr.com>
Cc: Brandon T. Darden <bdarden@carverdarden.com>; Avraham, David <David.Avraham@dlapiper.com>; Brian Kilmer
<bkilmer@kcw-lawfirm.com>; Elder, David <delder@gardere.com>; llowrey@sbsblaw.com; Rachel A. Lisotta
(rlisotta@mcalpinelaw.com) <rlisotta@mcalpinelaw.com>
Subject: RE: Monto - Non Disclosure Agreement

Vince, one thing that we noticed is that there are very few emails or documents from or to Mr. Boudreaux and none
from or to Mr. Orgeron. The documents which have been produced bear the prefix BHP—I assume this is for Blackhill
Partners. Given the scope of the document requests this seems odd but unless I hear otherwise we will assume that Mr.
Boudreaux and Mr. Orgeron did not author, send or receive any emails or correspondence except as reflected in the
documents produced to date. Thanks David

David F. Waguespack
Carver Darden Koretzky Tessier Finn Blossman & Areaux LLC

                                                                        5
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From: Slusher, Vince [mailto:Vince.Slusher@dbr.com]
Sent: Thursday, November 16, 2017 3:28 PM
To: David F. Waguespack <waguespack@carverdarden.com>; Perry, Kristen L. <Kristen.Perry@dbr.com>
Cc: Brandon T. Darden <bdarden@carverdarden.com>; Avraham, David <David.Avraham@dlapiper.com>; Brian Kilmer
<bkilmer@kcw-lawfirm.com>; Elder, David <delder@gardere.com>; llowrey@sbsblaw.com; Rachel A. Lisotta
(rlisotta@mcalpinelaw.com) <rlisotta@mcalpinelaw.com>
Subject: RE: Monto - Non Disclosure Agreement

David, at this point we are not withholding any documents based upon confidentiality or privilege. We continue to
review documents in light of expansions to the requests made during depositions and will produce any relevant
documents that review discloses which have not previously been produced. Further, to the extent we discover any
confidential documents during the review, we may renew our request for a NDA prior to production.

Regards Vince.

Vince Slusher
Drinker Biddle & Reath LLP
1717 Main Street, Ste. 5400
Dallas, TX 75201-7367
(469) 357-2571 office
Vince.Slusher@dbr.com
www.drinkerbiddle.com



From: David F. Waguespack [mailto:waguespack@carverdarden.com]
Sent: Thursday, November 16, 2017 3:09 PM
To: Perry, Kristen L. <Kristen.Perry@dbr.com>; Slusher, Vince <Vince.Slusher@dbr.com>
Cc: Brandon T. Darden <bdarden@carverdarden.com>; Avraham, David <David.Avraham@dlapiper.com>; Brian Kilmer
<bkilmer@kcw-lawfirm.com>; Elder, David <delder@gardere.com>; llowrey@sbsblaw.com; Rachel A. Lisotta
(rlisotta@mcalpinelaw.com) <rlisotta@mcalpinelaw.com>
Subject: RE: Monto - Non Disclosure Agreement

Vince and Kristen I would appreciate your responding to my email below at your earliest convenience. If we have a
dispute regarding the production, I would like to be in a position to timely present it to the Court. Thanks David

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waguespack@carverdarden.com | carverdarden.com




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From: David F. Waguespack
Sent: Wednesday, November 15, 2017 3:04 PM
To: Perry, Kristen L. <Kristen.Perry@dbr.com>; Vince.Slusher@dbr.com
Cc: Brandon T. Darden <bdarden@carverdarden.com>; Avraham, David <David.Avraham@dlapiper.com>; Brian Kilmer
<bkilmer@kcw-lawfirm.com>; Elder, David <delder@gardere.com>; llowrey@sbsblaw.com; Rachel A. Lisotta
(rlisotta@mcalpinelaw.com) <rlisotta@mcalpinelaw.com>
Subject: RE: Monto - Non Disclosure Agreement

Vince and Kristen, can you please advise if any documents are still being withheld from Alliance Energy Services’
document requests based upon confidentiality, privilege, or any other basis? Your attached response to the document
requests states that “Debtors have produced documents responsive to this Request” but does not state that all
responsive documents have been produced or provide a log of any documents that have been withheld. Please
advise. Thanks David.

David F. Waguespack
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From: David F. Waguespack
Sent: Saturday, October 28, 2017 2:42 PM
To: Perry, Kristen L. <Kristen.Perry@dbr.com>
Cc: Brandon T. Darden <bdarden@carverdarden.com>; Vince.Slusher@dbr.com; Avraham, David
<David.Avraham@dlapiper.com>; Brian Kilmer <bkilmer@kcw-lawfirm.com>; Elder, David <delder@gardere.com>;
llowrey@sbsblaw.com; Rachel A. Lisotta (rlisotta@mcalpinelaw.com) <rlisotta@mcalpinelaw.com>
Subject: RE: Monto - Non Disclosure Agreement

Kristen, I have not received a response to my email below and we have not received any documents (I am not certain
what documents are being withheld based on confidentiality but we have not received any documents). Can you please
send us the documents in the next couple of hours? Due to my schedule I will not be able to review them before the
deposition if I do not receive them this afternoon. Our requests were identical to the requests issued by the other
defendants. Thanks David

David F. Waguespack
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From: David F. Waguespack
Sent: Friday, October 27, 2017 6:10 PM
To: 'Perry, Kristen L.' <Kristen.Perry@dbr.com>
Cc: Brandon T. Darden <bdarden@carverdarden.com>
Subject: RE: Monto - Non Disclosure Agreement

Kristen, can you identify what information you consider confidential? The items listed below (cut from the NDA) in my
view are not confidential in a bankruptcy case. We do not think our request sought confidential information but if you
have to redact a customer name that is fine. Can’t think if anything else that would be confidential. Thanks David

        (i)      any information (including historical financial information that has not been publicly disclosed)
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                assets and liabilities of the Company, whether or not such information was created by the
                Company, included in information that is furnished by or on behalf of the Company to the
                Recipient, and regardless of whether such information is labeled “confidential”; and
                                                             8
                 Case 17-31646 Document 662-1 Filed in TXSB on 12/01/17 Page 9 of 10
          (ii)     notes, analysis, compilations, studies, interpretations, memoranda, other documents and writings,
                  or other means of conveying or disclosing information by the Company to the extent such materials
                  or disclosures contain, reflect, or are based on, any information described in clause (i) above.



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From: Perry, Kristen L. [mailto:Kristen.Perry@dbr.com]
Sent: Friday, October 27, 2017 6:00 PM
To: Brandon T. Darden <bdarden@carverdarden.com>
Cc: David F. Waguespack <waguespack@carverdarden.com>
Subject: RE: Monto - Non Disclosure Agreement

Brandon,

See attached NDA. Let me know if you have any questions.

Thanks,

Kristen

From: Perry, Kristen L.
Sent: Friday, October 27, 2017 5:09 PM
To: 'bdarden@carverdarden.com' <bdarden@carverdarden.com>
Subject: Monto - Non Disclosure Agreement

Brandon,

I am working on a draft NDA for both parties to execute prior to any confidential information being shared. I will send
that to you shortly.

Kristen

                                                             9
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Kristen L. Perry
Drinker Biddle & Reath LLP
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Dallas, TX 75201-7367
(469) 357-2548 office
Kristen.Perry@dbr.com
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